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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 11

BOY SCOUTS OF AMERICA AND                                          Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1

                                     Debtors.
                                                                   Jointly Administered

                                                                   Related Docket No. 3161

                                                               Objection Deadline: May 12, 2021 at 4:00 p.m. (ET)
                                                                   Hearing Date: May 19, 2021 at 10:00 a.m. (ET)

 RESPONSE OF THE TORT CLAIMANTS’ COMMITTEE TO CENTURY’S MOTION
   TO AMEND THE COURT’S ORDER (I) APPROVING PROCEDURES FOR (A)
INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES OF RETAINED
    PROFESSIONALS AND (B) EXPENSE REIMBURSEMENT FOR OFFICIAL
       COMMITTEE MEMBERS AND (II) GRANTING RELATED RELIEF

           The official committee of survivors of childhood sexual abuse (the “Tort Claimants’

Committee”) hereby responds to Century’s Motion to Amend the Court’s Order (I) Approving

Procedures for (A) Interim Compensation and Reimbursement of Expenses of Retained

Professionals and (B) Expense Reimbursement for Official Committee Members and (II)

Granting Related Relief [Docket No. 3161] (the “Motion”).2 In support of the response, the Tort

Claimants’ Committee respectfully represents as follows:




1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
    Capitalized words not defined herein shall have the meanings ascribed to them in the Motion.


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                                                      I.

              THE TCC SUPPORTS MODIFICATION OF THE FEE
    PROCEDURES SUBJECT TO DEPOSITING THE CASH TO PAY ACCRUED
 FEES IN A SEGREGATED BANK ACCCOUNT UNTIL APPROVED BY THE COURT

                  1.          The irony of Century’s request is that one of the primary reasons for the

amount of fees in this case is Century. From the outset of the Tort Claimants’ Committee’s

appointment, Century has objected to motions for the sole purpose objecting, to create delay, and

to prohibit parties from making meaningful progress in this reorganization.

                  2.         For example, Century filed the Limited Objection to the Official Tort

Claimants’ Committee’s Motion for an Order Clarifying the Requirements to Provide Access to

Confidential or Privileged Information [Docket No. 368], which was an objection to a routine

motion seeking routine relief about the Tort Claimants’ Committee’s disclosure requirements to

members of its constituency. The Tort Claimants’ Committee tried to resolve Century’s

objection prior to the hearing but the “discussion” resulted in Century’s counsel screaming at

TCC’s counsel for no particular reason presumably because he did not have a meritorious

objection to the relief requested. The Court overruled the objection and approved the motion.

                  3.         Similarly, the claims bar date order [Docket No. 695] was contested and

appealed and the order was affirmed by the District Court. The protective order [Docket No.

799], the form of which is used in most if not all of cases of this magnitude and the mediation

order [Docket No. 812] took over two months to negotiate and ultimately litigate until the Court

overruled Century’s objections to both. The same is true with BSA’s retention of Sidley Austin,

which was appealed and recently affirmed, and White & Case’s retention, not mention numerous

other motions that were pending before the Court.


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                  4.         To date, the Tort Claimants’ Committee has tried to engage with Century

through its professionals about ways to narrow issues or find ways to reach agreements on

intermediate steps that would help provide a path forward to closure of the case. The Tort

Claimants’ Committee’s overtures to Century have been met with silence.

                  5.          Notwithstanding Century’s unwillingness to engage in meaningful

dialogue in this case, the Tort Claimants’ Committee and its professionals agree that the fee

procedures should be revised as set forth below:


                            All professionals continue to file quarterly fee applications so that the fee
                             examiner can review and engage with professionals regarding potential
                             reductions.

                            After the fee examiner files its report with respect to a professional’s
                             quarterly fee application, BSA shall pay the fees relating to the 20%
                             holdback into a segregated bank account until the Court approves the
                             quarterly fee application, at which time the cash will be held in the
                             segregated bank account until distributed to the professional.

                            BSA shall not use the escrowed cash absent further order of the Court
                             after notice and hearing.

                            The quarterly fee applications of Pachulski Stang Ziehl & Jones (“PSZJ”)
                             shall have a partial exception to the above procedure so that half of the
                             20% holdback is paid to PSZJ so that it can continue to fund that portion
                             of its earned fees into a client trust account for the benefit of the
                             Survivors’ Trust as set forth in PSZJ’s retention application. See [Docket
                             No. 292-2] at para. 23.

                  6.         The Tort Claimants’ Committee discussed the above modification with

BSA’s counsel who is also supportive of the changes to the fee procedures. The Tort Claimants’

Committee expects BSA to file a proposed order that memorializes the above modifications. The




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Tort Claimants’ Committee reserves all rights until it reviews and signs-off on the form of the

proposed order.
                                                  II.

                                 RESERVATION OF RIGHTS

         The Tort Claimants’ Committee reserves all rights with respect to the foregoing and

reserves the right to raise any other and additional objections prior to or at the hearing on the

Motion.

                                                 III.

                                          CONCLUSION

         For all of the foregoing reasons, the Tort Claimants’ Committee respectfully requests that

the Court approve the Motion as modified herein.



Date: May 12, 2021                            PACHULSKI STANG ZIEHL & JONES LLP


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